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UNITED STATES DISTRICT COURT F()R
THE DISTRICT OF MASSACHUSETTS (Worcester)

 

Timothy LaTour
Plaintiff

16-CV-40072-TSH

Lustig, Glaser & Wilson P.C.,
Defendant

 

DEFENDANT LUSTIG. GLASER & WILSON, P.C.’s MOTION TO DISMISS THE
COMPLAINT UNDER F.R.C.P. 12b(6).

NOW COMES the above named Defendant in the above entitled action, and respectfully
moves this Honorable Court to dismiss the Plaintiff`s amended complaint pursuant to F.R.C.P.
rule 12b(6). As grounds for this motion, the above named Defendant submits that the pleadings
set forth in this case, and the uncontested facts established therein, clearly indicate that there are
no issues of fact in this matter. As such, LGW respectfully submits that the only issues
remaining are matters of law, Which can be decided by the Court per FRCP 12b(6).

In further support of this motion, Defendants rely upon the Plaintist complaint and the
applicable statutory and case laW. Defendant’s memorandum of law in support of this motion is

submitted herewith and incorporated herein by reference

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REOUEST FOR ORAL ARGUMENT

Pursuant to Local Rule 7.l(d), Defendants respectfully requests that the Court schedule this

motion for oral argument

CERTIFICATION PURSUANT TO RULE 7.1A(L

Counsel for Defendants hereby certifies that he has discussed these issues With Plaintiff in an

effort to resolve this matter without need for motion. The parties Were unable to resolve the

issues.

Respeetfully Submitted,
Lustig, Glaser & Wilson P.C.
Defendant, by their attorney

s/s Brian F. Hogencamp_
Brian F. Hogencarnp, BB 0#6745 l 8
Lustig, Glaser & Wilson P.C.

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Certiflcate of Service

I, Brian F Hogencamp, hereby affirm that this document filed by ECF Will be sent electronically
to the participants as identified on the Notice of Electronic Filing (NEF) on July 20, 2016.

/s/ Brian F Hogencarnt)
Brian F. Hogencarnp, Esq

